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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


-against-                                      04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                           Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                            DECISION AND ORDER

     On January 9, 2006, the Court held an in camera, ex parte hearing

with the Government regarding its first CIPA Section 4 filing. All those

present and/or participating in the hearing had appropriate national

security clearances.   The hearing, which was transcribed, involved

discussion of classified information.

     The Court finds that the Government’s interest in protecting the

national security and preventing the dissemination of classified

information outweighs the defendants’ and/or the public’s right of access

to this material and to this proceeding. See Haig v. Agee, 453 U.S. 280,

307 (1981)("[N]o governmental interest is more compelling than the

security of the Nation."); Snepp v. United States, 444 U.S. 507, 509, n.

3 (1980)(per curiam)("The Government has a compelling interest in

protecting both the secrecy of information important to our national

security and the appearance of confidentiality so essential to the


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effective operation of our foreign intelligence service."); United States

v. Moussaoui, 65 Fed. Appx. 881, 887, 2003 WL 21076836, at *3 (4th Cir.

May 13, 2003)(unpublished decision)(“[T]here can be no doubt that the

Government's interest in protecting the security of classified

information is a compelling one.”)(citing Dep't of Navy v. Egan, 484 U.S.

518, 527 (1988)); United States v. Al-Arian, 267 F. Supp.2d 1258, 1266-67

(M.D. Fla. 2003)(“This Court cannot think of a more compelling or

substantial interest that the United States possesses than protection of

classified information.”). The Court further finds that because the

discussion during the hearing was so limited in scope and so interrelated

with classified information, the filing of a redacted transcript that did

not divulge classified information would be impossible. No less

reasonable alternative to closure and sealing will protect the

Government’s interest in preventing the unauthorized dissemination of

this information, and this sealing order is drawn as narrowly as possible

under the circumstances.

     Accordingly, the paper and computer stenographic minutes of the

hearing, and any notes taken by Court staff, are and shall remain sealed

until further order of this Court, and are placed in the custody of the

Court Security Officer for appropriate storage.

IT IS SO ORDERED

DATED:January 10,2006




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